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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION

PERRY JOHNSON,

              Plaintiff,                                 Case No. 22-11232


vs.                                                      HON. MARK A. GOLDSMITH

MICHIGAN BOARD OF STATE
CANVASSERS, et al.,

            Defendants.
__________________________________/

 ORDER (1) FOR HEARING AND (2) DIRECTING DEFENDANTS TO RESPOND
   TO PLAINTIFF’S MOTION FOR A TEMPORARY RESTRAINING ORDER
              AND/OR PRELIMINARY INJUNCTION (Dkt. 2)
       The Court will hold a hearing on Plaintiff Perry Johnson’s motion for a temporary

restraining order and/or preliminary injunction (Dkt. 2) on June 14, 2022 at 1:30 pm at the

Theodore Levin United States Courthouse, 231 W Lafayette Blvd, Detroit, MI 48226.

       Defendants must file a response to Johnson’s motion by June 13, 2022 at 12:00 pm.

       SO ORDERED.

                                                  sMark A. Goldsmith
                                                  MARK A. GOLDSMITH
                                                  United States District Judge

Dated: June 9, 2022
